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                              UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


 TONYA PALMER,
                                                       CIVIL COMPLAINT
              Plaintiff,

 v.                                                   CASE NO. 3:18-cv-01907

 BLUESTEM BRANDS INC. d/b/a
 FINGERHUT,                                           DEMAND FOR JURY TRIAL

              Defendant.


                                          COMPLAINT

        NOW comes TONYA PALMER (“Plaintiff”), by and through her attorneys, Sulaiman Law

Group, Ltd. (“Sulaiman”), complaining as to the conduct of BLUESTEM BRANDS INC. d/b/a

FINGERHUT (“Defendant”) as follows:

                                     NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Telephone Consumer Protection

Act (“TCPA”) under 47 U.S.C. §227 et seq. and the Texas Debt Collection Act (“TDCA”) under

Tex. Fin. Code Ann. § 392 et seq. for Defendant’s unlawful conduct.

                                    JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the TCPA. Subject matter jurisdiction

is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and 1337, as the action arises

under the laws of the United States. Supplemental jurisdiction exists for the state law claim

pursuant to 28 U.S.C. §1367.




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   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Northern District of Texas and a substantial portion of the events or omissions giving rise to

the claims occurred within the Northern District of Texas.

                                              PARTIES

   4. Plaintiff is a consumer over 18 years-of-age residing in Seagoville, Texas, which lies within

the Northern District of Texas.

   5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

   6. Defendant is a catalog and online retailer offering household goods to customers on a

nationwide basis. Defendant is a corporation organized under the laws of the state of Delaware

with its principal place of business located at 7075 Flying Cloud Drive, Eden Prairie, Minnesota,

and it regularly conducts business with consumers located in the state of Texas.

   7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

   8. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.


                             FACTS SUPPORTING CAUSES OF ACTION

   9.     In early 2018, Plaintiff began receiving phone calls from Defendant to her cellular phone,

(214) XXX-7328.

   10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in -7328. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

   11. Defendant uses a variety of phone numbers when contacting Plaintiff’s cellular phone,

including but not limited to: (866) 836-8987 and (866) 625-7281.

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    12. Upon information and belief, the above-referenced phone numbers are regularly utilized

by Defendant during its debt collection activity.

    13. Upon answering calls from Defendant, Plaintiff experiences pre-recorded message

followed by a noticeable pause, lasting several seconds in length, before she is connected with a

live representative.

    14. Upon speaking with one of Defendant’s representatives, Plaintiff is notified that

Defendant is seeking to collect upon past due payments (“subject debt”) said to be owed by

Plaintiff stemming from household goods which Plaintiff financed from Defendant.

    15. Plaintiff has repeatedly told Defendant that its calls were not welcomed, as she was unable

to make payment.

    16. Despite clear notice from Plaintiff that its calls were unwanted, Defendant has continued

to call Plaintiff’s cellular phone with attempts to collect upon the subject debt up until the filing of

the instant action.

    17. Defendant has also placed multiple calls to Plaintiff’s cellular phone during the same day,

even after Plaintiff notified Defendant to cease its contacts.

    18. Defendant has called Plaintiff not less than 75 times since she demanded it stop.

    19. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

 resulting in expenses.

    20. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

    21. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

limited to, invasion of privacy, aggravation that accompanies collection telephone calls, emotional

distress, increased risk of personal injury resulting from the distraction caused by the never-ending

calls, increased usage of her telephone services, loss of cellular phone capacity, diminished cellular



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phone functionality, decreased battery life on her cellular phone, and diminished space for data

storage on her cellular phone.

          COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   22. Plaintiff repeats and realleges paragraphs 1 through 21 as though fully set forth herein.

   23. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   24. Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone. The pre-recorded message and noticeable pause, lasting several seconds

in length, that Plaintiff experienced during answered calls from Defendant before being connected

to a live representative is instructive that an ATDS was being utilized to generate the phone calls.

Additionally, the nature and frequency of Defendant’s contacts points to the involvement of an

ATDS.

   25. Defendant violated the TCPA by placing at least 75 phone calls to Plaintiff’s cellular

phone using an ATDS without her consent. Any consent Plaintiff may have given to the Defendant

upon renting the consumers goods was specifically revoked by Plaintiff’s demands that it cease

contacting her.

   26. The calls placed by Defendant to Plaintiff were regarding business transactions and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   27. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA



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should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, TONYA PALMER, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages pursuant
      to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees;

   d. Enjoining Defendant from further contacting Plaintiff; and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.

               COUNT II – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   28. Plaintiff restates and realleges paragraphs 1 through 27 as though fully set forth herein.

   29. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

   30. Defendant is a “debt collector” as defined by Tex. Fin. Code Ann. § 392.001(6).

   31. The subject debt is a “consumer debt” as defined by Tex. Fin. Code Ann. § 392.001(2) as

it is an obligation, or alleged obligation, arising from a transaction for personal, family, or

household purposes.

           a. Violations of TDCA § 392.302

   32. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.302(4), states that “a debt collector may

not oppress, harass, or abuse a person by causing a telephone to ring repeatedly or continuously,

or making repeated or continuous telephone calls, with the intent to harass a person at the called

number.”




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   33. Defendant violated the TDCA when it continued to call Plaintiff’s cellular phone at least

75 times after she notified it to stop calling. The repeated contacts were made with the hope that

Plaintiff would succumb to the harassing behavior and ultimately make a payment. The nature

and volume of phone calls would naturally cause an individual to feel oppressed, especially when

such calls are placed after an individual has made it clear that the calls are inconvenient.

   34. Upon being told to stop calling, Defendant had ample reasons to be aware that it should

not continue its harassing campaign of collection calls to Plaintiff. Yet, Defendant consciously

chose to continue placing calls to Plaintiff’s cellular phone.

           b. Violations of TDCA § 392.304

   35. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.304(19), prohibits debt collectors from

“using any . . . false representation or deceptive means to collect a debt or obtain information

concerning a consumer.”

   36. Defendant violated § 392.304(19) through its deceptive means in collecting upon Plaintiff.

In spite of the fact that Plaintiff demanded that Defendant stop contacting her, Defendant continued

to ceaselessly contact Plaintiff via automated calls. Through its conduct, Defendant falsely

represented to Plaintiff that it had the legal ability to contact her when it no longer had consent to

do so.

   WHEREFORE, Plaintiff, TONYA PALMER, respectfully requests that this Honorable Court

enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1).

   c. Awarding Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. § 392.403(a)(2).




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   d. Awarding Plaintiff punitive damages, in an amount to be determined at trial, for the
      underlying violations;

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to Tex. Fin. Code Ann. §
      392.403(b);

   f. Awarding any other relief as this Honorable Court deems just and appropriate.

Dated: July 24, 2018                              Respectfully submitted,

s/ Nathan C. Volheim (Lead Attorney)              s/Taxiarchis Hatzidimitriadis
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